   CASE NUMBER: 502020CA004581XXXXMB Div: AB "
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                         IN THE CIRCUIT COURT OF THE FIFTEENTH JUDICIAL CIRCUIT
                                 IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                                                 Case No.
             MARK EDDLEMAN,

                         Plaintiff,

             VS.

             EDWARD NAPLETON JR., EDWARD
             NAPLETON SR., NAPLETON'S NORTH
             PALM AUTO PARK, INC., OAK HILL
             DEALER SERVICES, INC.,

                         Defendants.


                                         COMPLAINT AND JURY TRIAL DEMAND

                   Plaintiff Mark Eddleman ("Plaintiff') here             Ivard Napleton Jr. ("Eddie Napleton

            Jr." or "Napleton Jr."), Edward Napleton e. ("Ed Napleton Sr." or "Napleton Sr."), Napleton's
                                                  Ask
            North Palm Auto Park, Inc. ("Napleton Automotive Group" or "NAG"), and Oak Hill Dealer

            Services, Inc. ("Oak Hill" and, togeter'with Eddie Napleton Jr., Ed Napleton Sr., and Napleton

            Automotive Group, "Defendants"), and alleges as follows:

                                                  NATURE OF THE ACTION

                    1.                is an action for whistleblower retaliation, tortious interference, negligent

            retention, Cimore arising out of Defendants' termination of Plaintiff because of Plaintiff's refusal

            to partipalhi Defendants' unlawful conduct. Indeed, the last straw that resulted in Plaintiff's

            termination was Plaintiff s refusal to cover up the rape of a female employee by Defendant Eddie

            Napleton Jr., the president-in-waiting of Defendant Napleton Automotive Group and the son of

            the company's current president, Defendant Ed Napleton Sr.




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           2.      Napleton Automotive Group is a large company that owns and operates over 60

    automobile dealerships in seven different states. During his three years as a high-level executive

    at the company, Plaintiff had a sterling track record of performance. Plaintiff was considered one

    of the company's top general managers, generating record performance for three separate

    dealerships in Palm Beach County. As a result of his success he was in line to assii4 a more

    expansive leadership role in Florida.

           3.      Additionally, Plaintiff was an ethical executive. During Pia           at Napleton

    Automotive Group, Defendants encouraged him to engage in certain          uds hat they carried out

    to bolster the company's overall profitability, including warra        d and consumer fraud. But

    Plaintiff refused to engage in those unlawful practices              alerships, despite their open

    acceptance at the company. Plaintiff's stellar performance—mcluding his record numbers and

    complete turnaround of several failing dealers ip"ISb,
                                                        Ndone the right way.

           4.      In February 2019, the St      f Florida
                                                     ,     charged Defendant Eddie Napleton Jr« with

    sexual battery on a helpless perso           te of Florida v. Edward W. Napleton, Case No. 50-

    2019-CF-000941. Palm Be h Cou             prosecutors allege that during a Napleton Automotive

    Group conference in        ust 2 18, Napleton Jr. let himself into the hotel room of a female

    employee and raped her      ile she was unconscious. Prosecutors allege that there is hotel video

    footage of   me o      e events alleged, and that DNA evidence corroborates the State's charges.

    The ci           mg.

                   The day after the rape in August 2018, approximately six months before prosecutors

    filed charges, Eddie Napleton Jr. confessed to Plaintiff. The two worked closely together and, at

    that point, considered each other friends and confidantes. Napleton Jr. explained to Plaintiff in

    disturbing detail how he had sexual intercourse with the victim while she lay unconscious on the

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    hotel bed in a pool of her own urine. He was far from remorseful, telling Plaintiff that if the victim

    had been conscious, she would have "let me fuck her anyway."

            6.       Months later, as the authorities were closing in on criminal charges against Eddie

    Napleton Jr., he began exerting pressure on Plaintiff to lie to criminal investigators. Specifically,

    Napleton Jr. wanted Plaintiff to lie about having observed the victim make sexual dvances

    towards Napleton Jr. on the night of the rape, and to misrepresent that the victim         a In ory of

    making sexual advances towards Napleton Jr. But that was not true.

            7.       More important, Eddie Napleton Jr. instructed PL itiff            ot to divulge his

    confession if approached by investigators; instead, Naple                   wanted Plaintiff to tell

    investigators a false, concocted story that he is relying          hi   efense. In short, he wanted

    Plaintiff to obstruct justice and commit perjury.

            8.       In early February 2019, the        t   ca e to a head. Defendant Eddie Napleton

    Jr. had been notified that he would ,leir
                                        b  minally charged. Napleton Jr. called Plaintiff and

    forcefully repeated his illicit reque    at    *ntiff falsely testify and that he "forget" all about the
                                      ,       )
    confession. Napleton Jr. threatened that if Plaintiff did not comply, Plaintiff could "get the fuck

    out" of the company a       that they could "have someone else sitting at [Plaintiff's] desk." At the

    same time, Naple on Jr. t    d to induce Plaintiff's compliance by promising a better bonus package

    at year's e

                       aintiff refused to engage in this conspiracy to obstruct justice and commit perjury.

    In retail     n, Plaintiff was summarily terminated by Defendants from a position where he was

    earning approximately $1 million annually and slated to earn over $10 million in the period from

    2019 to 2023. Defendants did not even bother to provide Plaintiff with a pretextual explanation

    for his termination.

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              10.      Defendant Napleton Automotive Group has publicly backed Defendant Eddie

    Napleton Jr. in his criminal proceeding, putting out a press release immediately after Napleton

    Jr.'s arrest stating that the company "fully support[s] Eddie as he fights to clear his name in court

    and trust[s] that justice will prevail."

              11.      Meanwhile, despite his track record of performance, Plaintiff—who left        ucrative

    executive-level position in Arkansas for his position at Napleton Automotive                  p a d who

    recently had a newborn son—has been unable to find new employment in th                      ve industry,

    a close-knit industry in which Napleton Automotive Group has trem dons influence. Plaintiff

    has sustained over $10 million in damages due to Defendants'

              12.      This action seeks to hold Defendants ac            b    or their gross misconduct—

    terminating a highly-compensated, high-performing el'ec               for refusing to participate in their
                                                         -,,
    unlawful corporate practices and then refus. g **spire with them to obstruct a criminal

    proceeding into a brutal sexual battery=,                Automotive Group's next president.

                                    PARTIES, JURISDICTION, AND VENUE

              13.      Plaintiff Mar     ddl    n is sui juris and is a resident of the State of Florida.

    Plaintiff, age 45, has w       ed as a general manager and executive in the automotive sales industry

    for approximate' 20 year,, Prior to his joining Napleton Automotive Group, Plaintiff was a high-
    levelsjitis
          execu •   t a motive companies, where he managed and operated numerous dealerships

    and ha                track record of turning around and improving sales and profitability. Plaintiff is

    conside         one of the top managers in the automotive industry.

              14.      Defendant Edward Napleton Jr. is sui juris and is a resident of the State of Illinois.

    Napleton Jr. is the director of operations for Napleton Automotive Group. As noted, Napleton Jr.

    has been charged with sexual assault of one of the company's employees. The case is pending in

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    the Circuit Court of the 15th Judicial Circuit in and for Palm Beach County. See State ofFlorida

    v. Edward W. Napleton, Case No. 50-2019-CF-000941.

            15.       Defendant Edward Napleton Sr. is sut funs and is a resident of the State of Florida.

    Napleton Sr. is the president of Napleton Automotive Group, and he remains involved in its day-

    to-day operations.

            16.       Defendant Napleton's North Palm Auto Park, Inc. is an Illinois co r     tion ith its

    principal place of business in Lake Park, Florida. Napleton Automotive Grt pi             mily-owned

    company, operating over 60 auto dealerships in seven different states.           cpmpany states on its

    website that the "Napleton Family name has become synonym°je excellence and teamwork,"

    and that it is "one of the most forward-thinking dealershi               the country."

            17.       Defendant Oak Hill Dealer Services                llinois corporation. Oak Hill is an

    affiliate of Napleton Automotive Group, and i                  is Defendant Ed Napleton Sr.

            18.       This Court has jurisdicti              action as Plaintiff seeks damages in excess of

    $30,000 .00, exclusive of interest„ a            fees.

            19.      Venue is prop     in t 1     ourt as one or more of Defendants reside in Palm Beach

    County and the events       denying Plaintiff's claims occurred in Palm Beach County.

                                        FACTUAL ALLEGATIONS

       A.         Plaintif    Recruited to Join Defendant Napleton Automotive Group

                  Llaintiffjoined Napleton Automotive Group in 2016. Before that, Plaintiff was the

    chief op      ting officer of an automotive group in Arkansas, where for three years he operated 21

    franchises in 14 different locations throughout the state. During those three years, Plaintiff helped

    the group more than triple its earnings.



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               21.       In 2015, Edward Napleton Sr., the patriarch of the Napleton family and the current

    president of NAG, recruited Plaintiff to join NAG. Specifically, Napleton Sr. recruited Plaintiff

    to be the general manager of NAG's Chrysler Dodge Jeep, Ram ("Chrysler") and Hyundai/Genesis

    ("Hyundai") dealerships in Palm Beach County.

               22.       The Palm Beach County area is the crown jewel of NAG's car dealersh" empire.

    Ed Napleton Sr. sold Plaintiff on uprooting his life in Arkansas (where PlaiOwas                    ready

    successfully established) and relocating to Palm Beach by explaining t                         ould offer

    opportunities for increased compensation, in addition to opportunities          r adv ncement within the

    NAG network.

               23.       During in-person meetings where they dis i           I ntiff's potential employment,

    Ed Napleton Sr. communicated to Plaintiff that if                     d to Palm Beach and joined NAG,

    Napleton Sr. would guarantee Plaintiff an a             '4Nte nsation of $1 million—the same annual

    compensation Plaintiff was earning at t           *me       Arkansas—and that Plaintiff would be making

    over $2.5 million a year very quicklt•

               24.       Significantly, d Na      on Sr. also sold Plaintiff on the prospect of one day taking

    over all of NAG's Flori          dealers ips. Napleton Sr. told Plaintiff that his son Eddie Napleton Jr.,

    who at the time ser,,
                     as runnix NAG's dealerships in Florida and Georgia, was being groomed to be

    NAG's nex              *de . The plan was for Napleton Jr. to "rotate" through Palm Beach for a period

    of one o               rs, after which he would return to NAG's headquarters in Chicago to replace his

    father a         esident. At that time, Plaintiff would be in line to take over NAG's Florida dealerships.

               25.      With these inducements in mind, Plaintiff entered into an oral agreement to join

    NAG. Plaintiff started in or around March 2016 as the general manager of NAG's Chrysler and

    Hyundai dealerships in Palm Beach County.

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       B.         Plaintiff Becomes a Superlative Manager for Defendant Napleton Automotive
                  Group

            26.      Upon joining NAG, Plaintiff began working directly with Eddie Napleton Jr., who

    was also based out of Palm Beach.

            27.      Plaintiff immediately demonstrated the superior managerial skills that had made

    him a highly coveted recruit. The Hyundai dealership was losing approximately $19              month

    when Plaintiff arrived. Under Plaintiff's management, however, the dealershi              e profitable

    within just four months. By the end of 2017, Plaintiff had completely                 lership around,

    converting it into a store with over $2 million in annual profits—               gest year-over-year

    financial turnaround across all of NAG's dealerships. Plain               le to immediately improve

    the financial performance of the Chrysler dealership, a sd/4„
                                                               1.

            28.      Not surprisingly, Defendants too 1(ke
                                                      n ' o Plaintiff's skills and the exceptional

    results he generated, and they expanded his            cc dingly. In September 2017, Defendants had

    Plaintiff take over as general mana                     Kia-branded dealership in Palm Beach. This

    made Plaintiff the general mana r             of NAG's dealerships in Palm Beach. Defendants also

    named Plaintiff the manager            apleton body shop in Palm Beach .

            29.      Similar t          Hyundai dealership, NAG's Kia dealership was losing money

    before Plaintif         over—experiencing over $70,000 in monthly losses. Under Plaintiff's

    management, wit        one month the Kia dealership was operating at a profit. In fact, in 2018, NAG

    recognized Plaintiff for achieving the top financial turnaround out of any dealership in NAG's

    expansive network.

            30.      Overall, under Plaintiff's leadership his three dealerships achieved record financial

    results in 2018, with approximately $10 million in aggregate profits.


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           31.     Seeing that they had a star executive, NAG continued to bestow additional

    responsibilities on Plaintiff. For example, NAG requested that Plaintiff build and operate NAG's

    centralized business development center in Palm Beach. This center had approximately 50 sales

    agents who assisted with sales and marketing for 18 NAG dealerships throughout Florida and

    elsewhere. Plaintiff was charged with managing the center and ensuring its efficient o      ation in

    service of those dealerships. Plaintiff also was assigned to manage a NAG regi7-tal corporate

    office in the same location.

           32.   Plaintiff's expanded portfolio across one of NAG's prized regions made him one
                                                                       Nhp/
    of the company's most successful and recognizable executive        ed, Plaintiff was made the

    spokesperson for NAG's Palm Beach stores, app                       "   NAG's commercials and

    advertisements.

                   Plaintiff was NAG' s second hi        i
                                                       S33. i eneral manager across the entire country,

    and he wielded significant influence in t      m       , answering only to Ed Napleton Sr. and Eddie

    Napleton Jr.

           34.     Although Plai iff wa         NAG employee, the company paid Plaintiff through its

    affiliate, Defendant 0     Hill, or certain portions of his compensation that were based on

    commissions fe sal             warranties and other products and services in connection with the

    NAG dealershi s Plaintiff managed.

                      onsistent with Ed Napleton Sr.'s representations and inducements, Plaintiff's

    successll performance, and Plaintiff's increased scope of responsibilities, Plaintiff's

    compensation was slated to increase substantially over time. Plaintiff's compensation from 2019

    to 2023 for running the three NAG dealerships was to be in excess of $10 million, not including

    any potential compensation increases resulting from further promotions.

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             36 .   As Plaintiff was promoted between 2016 and 2018,so was Eddie Napleton Jr. In

    early 2018 ,Napleton Jr.was named NAG's nationwide director of operations.

             37.    Plaintiff and Eddie Napleton Jr.developed a close friendship over time. The two

    spent time together socially and grew to confide in one another.

        C.      Plaintiff Observes Serious Misconduct by Defendants and Refuses to PSticipate
                                                                                          -         ノ
             38 .   From March 2016 through the end of his employment at NAG in February 2019,

    Plaintiff became aware of serious misconduct by NAG-warranty fraud,cA                     aud,sexual
                                                                              ノ入、’
                                                                              入、’
    harassment, hush-money payments, and other illicit       behavior. D.endig on the conduct,
                                                                        、ノノ
    Defendants would either participate in the conduct or else cond      conduct and cover itup.

             39.    Much of the unlawful conduct at NAG                      by and through the general

    manager of the NAG Uyundai dealership                                  CNAG Executive-i "). NAG

    Executive-i was known throughout the NA                     his willingness to cross legal and ethical


                                             'L
    lines in order to increase profits

                1.IVarrai ;ひ
                           ひ Fraud against か:ii
                                           :ii
                                             ;da

             40
              . For
                 instance
                    ,r i くnd
                          nd
                           NAG Executive
                                  -i
                                   engaged
                                      in
                                       alarge
                                          -scale
                                            warranty
    fraud against Hyundai. n 201         and 2018 , according to its website, Hyundai recalled more than

    one million Sant     e and Sonata vehicles in order to address a manufacturing issue that could lead


    to engine 争、恥 'fendants and NAG Executive-i engaged in a scheme to defraud Hyundai

    based
        2ufacturing
            issue
              Hyundai
                had
                  announced
          、         First,Defendants and NAG Executive- i would have NAG purchase at auction used


    versions of the Hyundai models that were subject to the recall. Then,once NAG brought the

    purchased vehicles onto itspremises, NAG would intentionally "blow" the engines of those

    vehicles by emptying their oil and running them at high RPMs until the engines malfunctioned.

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          42.     At that point, NAG would submit fraudulent requests for Hyundai to pay for the

   supposed manufacturing defects pursuant to the recall. NAG would receive approximately $7,000

   per "blown" engine, including the new engine and service fee.

          43.     But this scheme was not limited to vehicles that NAG had purchased at auction;

   NAG would carry out the scheme to applicable Hyundai models that had been traded in by

   customers or brought in for service, as well. All told, NAG was "blowing" o 11,
                                                                                 20 flundai

   engines every month, making this a multimillion-dollar fraud against Hyunt
                                                                           .411)

          44.     Eddie Napleton Jr. encouraged Plaintiff to engage in this practice in order to bolster

   the productivity of the Hyundai dealership Plaintiff ran. Plaintiff declined.

                2. Consumer Fraud

          45.     Defendants and NAG Executive-1 at engaged in a large-scale fraud against

   NAG's consumers. Under Florida Statute §X.9‘11§frao dealerships are prohibited from adding

   certain fees or charges to the cash price    a vehicle listed for sale, and must include all fees or

   charges that must be paid by the customer in any advertised price. Violations of this statute are

   considered "deceptive" practices under Florida's Deceptive and Unfair Trade Practices Act.

          46.     Defendants serially violated this law. As a matter of practice, NAG's Hyundai

   dealership in West Palm Beach advertises its vehicles at very low prices. Once customers are at

   the dealership, however, Defendants will add unfounded fees and charges to the actual sales price

   for those vehicles.

          47.     For example, Defendants will charge an additional $1,999 "certified fee" for the

   sale of a certified used car—a fee that is not disclosed in NAG's advertisements. Defendants will

   also charge a so-called "Napleton Advantage Fee," which is completely unfounded and illusory.

   Defendants will add these fees and charges to the sales price at the time of the sale—in order to

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   defraud customers they have enticed to the dealership through false advertisements promoting fake

   low prices.

            48.         Defendants charge these unfounded and illusory fees to over 100 customers every

   month. This is yet another multimillion-dollar fraud carried out by Defendants.

            49.         As with NAG's warranty fraud, Eddie Napleton Jr. encouraged Plaintiff         engage

   in this unlawful practice. Indeed, Napleton Jr. urged Plaintiff to "be more like" N-A—G Executive-

   1. And yet again, Plaintiff declined. Plaintiff had no intention of breaki                 lrin order to

   enrich NAG at the expense of others.

                    3. Sexual Harassment and Hush Money Cover-Ups
                                                                ,411)

              50.       In addition to the frauds that were carried             er the profitability of NAG' s

   dealerships, it was widely known amongst senior execu Ives at the company—including
                                               '144
   Defendants Ed Napleton Sr. and Eddie Naplet9Jat NAG Executive-1 had sexually harassed

   several female employees at his dealer '  I eed, at least four female NAG employees have
                                         nslir
   brought sexual harassment claims agai     G Executive-1 in recent years.

              51.       NAG has a formal "Policy Against Harassment."                NAG' s policy defines

   "harassment" as inclu            , among other conduct, "sexual advances, requests for sexual favors,

   unwelcome or<%
               o sive
                  ,   inching and other verbal, graphic, or physical conduct of a sexual

   nature."                    . The policy provides that any allegations will be "thoroughly investigated."

   "The E                   Automotive Group does not and will not tolerate harassment of our employees,"

   the poll         states, and as such any "violation of this policy will subject an employee to disciplinary

   action up to and including immediate discharge."

              52.       But far from subjecting NAG Executive-1 to "disciplinary action" for his conduct,

   NAG had a pattern and practice of simply paying his victims hundreds of thousands of dollars in

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   exchange for non-disclosure agreements. Defendants refused to terminate NAG Executive-1

   because, through his fraudulent conduct, he was generating substantial profits for NAG. One NAG

   employee was terminated, however, for blowing the whistle on the situation.

           53.      Given Defendants' history of subordinating NAG's sexual harassment policy and

   the well-being of NAG's employees whenever Defendants found it to be in their intere           perhaps

   it should have come as no surmise that Defendants again acted in this manner wh                  any' s

   president-in-waiting, Eddie Napleton Jr, violated the company's policy in t             ossible way

   in the summer of 2018.
                                                                            C
      D.         Defendant Eddie Napleton Jr. Rapes Jane Doe a              fesses to Plaintiff

                 1. NAG's Annual Corporate Retreat in Pall                August 2018

           54.      Plaintiff met Jane Doe in or around J   0       ane Doe worked as a service trainer

   for NAG until the day she was raped by DefendanSd,           Napleton Jr. the following month.

           55.      On August 7 and 8, 2018, NAG hyagted its annual corporate retreat in Palm Beach.

   Corporate executives from Chica                 ral managers from more than 20 dealerships across

   the southeastern United Stat               the conference, which took place at a West Palm Beach

   Marriott (the "Marriott"ti4or

           56.      <Ste
                    0  uesd , August 7, 2018, Ed Napleton Sr. and Eddie Napleton Jr. visited

   Plaintiff at0ia         alership to congratulate Plaintiff on his strong performance throughout the

   year.

                    That night, NAG hosted a dinner for the conference participants at Morton's

   Steakhouse in Palm Beach. Approximately 50 of NAG's senior management attended the dinner.

   Ed Napleton Sr. was there, sitting at a table next to Ms. Doe.



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            58.       Plaintiff sat at a different table. From his table, Plaintiff observed Eddie Napleton

   Jr. having several drinks.

            59.       Knowing he had to conduct a presentation at a partners' meeting at the conference

   the following morning, Plaintiff enjoyed his dinner and left the restaurant around 9:00 p.m.

   Although Eddie Napleton Jr. also had to present the following morning, he stayed be             d when

   Plaintiff left.

                  2. Defendant Eddie Napleton Jr.'s Confession                          4S?

            60.       Early the following morning, at approximately 7:30 a.n4pn Wednesday, August 8,

   2018, Defendant Eddie Napleton Jr. called Plaintiff. Someth                  wrong. Napleton Jr. told

   Plaintiff that his "life [was] over" and that he had "fucked              ." He pleaded with Plaintiff,

   who was on his way to the Marriott for the presentation, to take his place and "lead the way" at

   the meeting.
                                                -A1/‘
            61.       Eddie Napleton Jr. was with his, father, Ed Napleton Sr., at the meeting when

   Plaintiff arrived. Napleton Sr. spolc."fo
                                     „lok           few minutes and then quickly left, with Napleton Jr.

   and NAG's General Counsel,             Sr    er, at his side.

            62.       Rumors      an to swirl. Jane Doe was not at the meeting and was said to be in the

   hospital. Policeitled th        otel lobby. Eddie Napleton Jr's sister leaned in close to Plaintiff and

   whispered that "thin' [were] weird." Plaintiff sent Napleton Jr. a text, asking why he had left the

   meetin         keire7tly. Napleton Jr. responded that his "stomach [was] upset." [Exhibit B]

                      The next day, Thursday, August 9, 2018, Plaintiff returned to his office at the

   Chrysler dealership in Palm Beach. Eddie Napleton Jr. texted Plaintiff and asked that Plaintiff

   pick him up at his father's house. Napleton Jr. said he "need[ed] to get out of the house" to "talk."



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          64.     When Plaintiff arrived at Ed Napleton Sr.'s house, Eddie Napleton Jr. was clearly

   distraught. In the car, Napleton Jr. shared with Plaintiff what had happened at the conference on

   Tuesday night and Wednesday morning.

          65.     According to Defendant Eddie Napleton Jr., after the dinner at Morton's

   Steakhouse on Tuesday, August 7, 2018, a group of NAG executives and employe                     went to

   Rocco's Tacos & Tequila Bar on Clematis Street. Jane Doe sat on Napleton J411Itap at t e bar

   and Napleton Jr. kissed her in front of the group. The group later return            to   e Marriott and

   continued to drink at the hotel bar.
                                                                                C
          66.     At the Marriott hotel bar, Jane Doe had beco                  erely intoxicated and was

   showing visible signs of serious intoxication. A NAG e                v     tamed a room for her at the

            ("NAG Executive-2"). Eddie Napleton Jr.AMarriott
                                                    k ai     o Plaintiff during their conversation

   that the purpose of getting the room was for                    to have sex with Jane Doe.
                                                        S.
          67.     NAG Executive-2 got Ja           oe        up" in the hotel room. He returned to the hotel

   lobby. Soon after, however, Jane        s        led out of her room and fell to the floor in the middle

   of the hallway. A hotel emlo                d her and placed her in a wheelchair, and some time later

   NAG Executive-2 help       the hotel staff identify Jane Doe and place her back in the hotel room.

          68.     E die Na     ton Jr. and NAG Executive-2 continued to have drinks at the Marriott

   hotel bar. Na
              0  ).on     . then called the victim on her cellular phone, but she did not answer.

                     entually, Eddie Napleton Jr. requested that NAG Executive-2 provide him with

   the roon*ey to Jane Doe's room. NAG Executive-2 gave it to him.

          70.     As he recounted to Plaintiff, Defendant Eddie Napleton Jr. then slipped into Jane

   Doe's hotel room. He saw Jane Doe unconscious on the bed. She was "passed out" and covered



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   in her own urine. He pulled her pants off and raped her repeatedly. Jane Doe was unconscious

   the entire time. Napleton Jr. emerged from the room later that morning.

            71.      In his conversation with Plaintiff, Eddie Napleton Jr. said that he "tore that ass up

   for a few hours," possibly referencing that he had anally raped the victim, as well.

            72.      Eddie Napleton Jr. then wanted to discuss with Plaintiff the possible "de     ses" he

   could use if he was investigated or criminally charged. Napleton Jr. suggest                t h would

   fabricate a story where he fell asleep in the bed alongside the victim, and t               ot until the



                                                                         NI
   following morning—once she was awake—that they had consensual s                    tercourse.

            73.      After confessing to Plaintiff, Eddie Napleton Jr.   anted to see "what was going on"

   at the Marriott, the scene of the crime, so Plaintiff took hi(V
                                                               '             otel during their car ride on

   August 9, 2018.

            74.      Plaintiff and Napleton Jr. had break,
                                                       /'l at the Marriott hotel café. Napleton Jr.
                                                .   N.
   wondered aloud whether he should tell             ife about what had occurred. He also asked Plaintiff

   whether he thought that $500,000                  ake this go away" and whether Plaintiff was willing

   to speak with Jane Doe abo                 g the matter through a financial payoff. Plaintiff did not

   respond to these inquiri iti4of
                               and evaded the questions.

            75.      A er brea ast, they drove back to the dealership, where Napleton Jr. dropped off

   Plaintiff an         th   ar for the day. During that car trip, Napleton Jr. rationalized the assault on

   Jane Do              g "that stupid bitch" would have "let me flick her anyway."

        .         Defendant Eddie Napleton Jr. Instructs Plaintiff to Lie to Criminal Investigators

            76.      The West Palm Beach Police Department (the "Police Department") immediately

   launched an investigation into the rape. Within a week or so, Defendant Eddie Napleton Jr. sent



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   Plaintiff a text message instructing him to not tell anyone about their conversation on August 9,

   2018: "[D]on't say anything to anyone[.]" [Exhibit C]

            77.      In September 2018, Plaintiff sponsored a golf tournament for the Palm Beach

   County Sheriff (the "Sheriff"). Eddie Napleton Jr. reached out to Plaintiff to ask that Plaintiff "run

   interference" with the Sheriff. That is, Napleton Jr. wanted Plaintiff to convince the Sh 'ff to tell

   the Police Department to "back off' its investigation into Napleton Jr. Plaintiff wad not o that.

            78.      In late 2018, Eddie Napleton Jr.'s behavior grew increasingly          Xranoid, and

   controlling. Napleton Jr. asked Plaintiff to have "loyal" NAG empl           ees t 11 investigators that

   they had seen Jane Doe flirting with him on other occasions pri             e night of August 7, 2018.

            79.      Eddie Napleton Jr. asked Plaintiff to lie to       ti.ors about their conversations.

   "[I] fthe cops approach you," Napleton Jr. said, "do i                what we talked about" on August

   9, 2018. He also repeatedly requested that P AS,
                                                  lo investigators and say that he observed

   Jane Doe "coming on" to Napleton Jr.*

            80.      In or around late Jaii)          , Defendant Eddie Napleton Jr. learned that he would

   be criminally charged. Napl on Jr.         led Plaintiff, who was at the office at the time. He asked

   Plaintiff to go into the office, close the door, and put him on speaker phone. "I'm being indicted,"

   Napleton Jr. said, "I just    t the phone call."

            81. 0diltqapleton Jr. proceeded to ask Plaintiff whether anyone had talked to him yet,

   and whe e            as a "team player." Napleton Jr. continued, saying, "I'm really going to need

   you on         team. We have 15-20 witnesses who are all solid company guys."

            82.      Eddie Napleton Jr. then requested that Plaintiff falsely testify that he personally

   observed Jane Doe make sexual advances toward Napleton Jr. on the night of August 7, 2018.



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   Napleton Jr. also said that Plaintiff needed to "forget" everything they had discussed on August 9,

   2018.

            83.      Plaintiff tried to evade Eddie Napleton Jr.'s requests, saying he did not want to get

   involved. Napleton Jr. responded by calling Plaintiff a "selfish son of a bitch." Napleton Jr. told

   Plaintiff that "if you do this, when your bonus is redone, it will be very favorable for yo "

            84.      When Plaintiff reiterated that he did not want to get involved ans      vey    in no

   uncertain terms that he would not be complying with Eddie Napleton Jr.'s               i. s, Napleton

   Jr. told Plaintiff that he could "get the fuck out." Screaming into t        phoie, Napleton Jr. told

   Plaintiff "we can have someone else sitting at your desk."

            85.      By the following day, Plaintiff's access        4S,
                                                                      ' computer network had been

   restricted.

       F.         Defendants Terminate Plaintiff jah ion for His Unwillinness to Obstruct
                  Justice

            86.      Within several days ofant Eddie Napleton Jr. making these demands of

   Plaintiff, the Napleton family h             ergency" family meeting to discuss concerns about how

   the news of the imminent                1 charges would impact NAG's business in Florida and

   elsewhere. Shortly ther            n or around the first week of February 2019, NAG announced that

   Plaintiff had "r       ed" from his position with the company, effective immediately.

            87.

   afte ,v- .
                  0     intiff, however, had not resigned. Plaintiff emailed Eddie Napleton Jr. shortly

                   •nnouncement to communicate that he intended to continue working. But in addition

   to Defendants blocking Plaintiff's access to the NAG computer network, when Plaintiff showed

   up at his office NAG' s human resources representative told Plaintiff to "get the fuck off the

   property." Thus, although Plaintiff had not resigned, he had been fired.


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           88.      Plaintiff then texted twenty of his colleagues:

                    Getting lots of texts I'm no longer with the company. I did not
                    resign nor quit, this information coming from corporate is
                    inaccurate. . . . Thank you all for all you've done to support me over
                    my tenure! It's been a true pleasure to be able to work side by side
                    with each and every one of you and all others not on this group text.
                    We'll all be in touch soon!

   [Exhibit D]

           89.      On or about February 4, 2019, news of the rape broke. Defen               le Napleton

   Jr. was arrested and charged with sexual battery on a helpless person, in '4a        s          Statute

   § 794.011.

           90.      According to state prosecutors, as shown on v             illance from the hotel, Jane

   Doe was in an unconscious state when Defendant E                   • eton Jr. entered her room after

   midnight on August 8, 2018. A DNA test reveal                is semen was found on her body.

           91.      CBS and ABC stations repo          at    ice accused Eddie Napleton Jr. of "rap[ing]

   an unconscious woman at a West Pa                  Fla., hotel last August," and that his "DNA was

   found on the victim's body." T               g news was out.

           92.      Defendant NA          ever, was not interested in seeing or hearing about any of the

   evidence. Instead, NA            iarily proclaimed Eddie Napleton Jr.'s innocence:

                          ompany has strict policies and procedures in place to protect
                            ty and well-being of all employees. In this case, no policy
                       law was violated. We fully support Eddie as he fights to clear his
                       me in court and trust that justice will prevail.

                 , e.g., ABC7 Chicago, "Edward Napleton Jr., son of Napleton Auto Group president,

   allegedly had sex with unconscious woman, policy say,"              February 4, 2019, available at

   http s://ab c7 chic ago . com/son- of-napleton-auto -group-pres ident-allegedly-had-sex-with-

   unconscious-woman-police-say/5120938/; Automotive News, "Son of Napleton Auto Group

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   president charged with sexual battery in Florida," February 6, 2019, available at

   http s://www. autonews. com/dealers/son-napleton- auto-group -pre sident-charg ed-sexual-battery-

   florida. [Exhibit E]

            93.   It was specifically Plaintiff's steadfast refusal to corroborate this narrative that, in

   large measure, led to his dismissal.

            94.   Only one person at NAG had the authority to fire Plaintiff: Defen/411       d    pleton

   Sr.

            95.   By this time, Ed Napleton Sr. had realized his son, Eddi Napl ton Jr., was a threat

   to the business. Napleton Sr. knew that his son had raped Jo           Doe, as charged. In fact, upon

   information and belief, Napleton Sr. already had receive           i     om his son in which his son

   had accepted personal financial responsibility for t      ci

            96.   However, Ed Napleton Sr. ha              áYare that his son was a dangerous, loose

   cannon even before the rape. Napleto         r.        that his son had encouraged "blowing up"

   automobile engines to defraud m         aeturers. He also knew that his son was prone to other

   offensive conduct—as one example,        pleton Jr. had recently expressed in writing his belief that

   the "Sunshine State,"      ized region for Chicago-based NAG, was "full of Jews and hillbillies."

            97.   B t none cthis mattered to Ed Napleton Sr. Eddie Napleton Jr. was his own flesh

   and blood,        b     of the Napleton family. Plaintiff, on the other hand, was not. And by now

   Plaint            onstrated, time and time again, that he was not willing to lie or break the law for

   Defend. ots' benefit.

            98.   So, Defendant Ed Napleton Sr. gave the order to fire Plaintiff Knowing Eddie

   Napleton Jr. was about to be charged criminally, Napleton Sr. decided NAG would go on the



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   offensive. It would accuse the rape victim, Jane Doe, of being a liar. The company would purge

   any senior executives who had not fallen in line, namely, Plaintiff.

           99.       And so, at the same time it was firing Plaintiff, NAG issued a statement to the press

   in which it summarily announced "no policy or law was violated" and [w]e fully support Eddie as

   he fights to clear his name in court[.]"

           100.      Plaintiff's termination was a direct result of his unwillingness to lie
                                                                                           , to investigators,
   commit perjury, obstruct justice, and engage in other wrongdoing on behalf                 Mants. After

   over 20 years in the automotive industry, Plaintiff had been cast aside.

           101.      Plaintiff has been unable to find new employme              lost the salary and benefits

   he was earning at NAG—despite his superb track rec                       i automotive executive—only



                                                       Ase
   because he would not conspire with Defendants.                 ,     , because he was a recognizable

   spokesperson for NAG and was featured in                   a   ertisements, Plaintiff's losses have been

   compounded by significant reputational             th has resulted from being recognized by much of

   the Palm Reach community as theJe 0               e company at the very time Napleton Jr.'s misdeeds

   went public.

           102.      Moreove Plaintiff is still owed approximately $250,000 from NAG and Oak Hill,

   amounts compris d of unpaid salary and commissions that Plaintiff earned prior to his unlawful

   terminatio

                 .     aintiff has retained undersigned counsel and is required to pay them a reasonable

   fee.




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                                                 COUNT I

                    Section 448.102, Fla. Stat., Florida Private Whistleblower Act
                           Against Defendant Napleton Automotive Group

           104.    Plaintiff incorporates Paragraphs 1 through 103 as though fully set forth herein.

           105.    Defendant Napleton Automotive Group is a firm, partnership, institution,

   corporation, or association that employs ten or more persons.

           106.    Plaintiff engaged in statutorily protected activity when he obj            and refused

   to participate in Napleton Automotive Group's unlawful activities                    es.    Plaintiffs

   protected activity included his refusal to participate in the frauds perpe        y the company and

   his refusal to lie to police investigators and commit penj                   knowledge of Defendant

   Eddie Napleton Jr.'s rape of Jane Doe.

           107.    Napleton Automotive      Group's8
                                            ."
   known and encouraged by the company's sfP_exe tives.
                                                         n   c r rs' fraud and consumer fraud were



           108.    Further, Napleton Aut               roup condoned and ratified Eddie Napleton Jr.'s

   demand that Plaintiff lie to po             'gators and commit perjury. As Napleton Jr. was the

   company's director of opera            ne of the most senior-level executives at the company, his

   directives were made on           of the company.

           109.    kla    ton Automotive Group's ratification is also evidenced by the company's

                         e of covering up incidents of sexual harassment, contrary to its own internal

   har            olicy, in order to protect favored executives and avoid negative publicity and its

   financial impact. Napleton Jr.'s demand that Plaintiff lie and commit perjury were in furtherance

   of this pattern and practice, as it is consistent with the company's declaration of Napleton Jr.'s

   innocence immediately following his arrest.


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           110.       As a direct cause and result of Plaintiff's objections and refusals, Napleton

   Automotive Group terminated Plaintiff's employment.

           111.       Napleton Automotive Group's actions would discourage a reasonable employee

   from engaging in similar protected activity.

           112.       Napleton Automotive Group's decision to terminate Plaintiff's emplo ii ent has

   caused Plaintiff to suffer millions of dollars in damages. Plaintiff was a tru                 xec we at

   Napleton Automotive Group whose salary and benefits were approximatel                       11 von per year,

   and who was slated to earn over $10 million from 2019 to 2023.

           113.       Accordingly, Plaintiff is entitled to relief as set fhihe Prayer for Relief below.

                                                      COUNT II


                                                            4s05,
                             Tortious Interference with fIiñ1e1ationship
                                  Against Defendant          leton Jr.

           114.       Plaintiff incorporates Parag           1t   ugh 103 as though fully set forth herein.

           115.       Defendant Eddie N                      had actual knowledge of Plaintiff's business

   relationship with Napleton Aut                    oup.

           116.       Acting solely out of malice toward Plaintiff, Eddie Napleton Jr. interfered with

   Plaintiff's business relatiship with Napleton Automotive Group in retaliation and retribution for

   Plaintiff's refu         lie to police investigators and commit perjury about Napleton Jr.'s rape of

   Jane Do

                      Specifically, Eddie Napleton Jr. announced that Plaintiff had "resigned" from

   Napleton Automotive Group, even though Napleton Jr. knew that Plaintiff had not resigned and

   had no intention of resigning.




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           118.    Eddie Napleton Jr. also caused Plaintiff to be blocked from accessing the

   company's servers—making it impossible for Plaintiff to perform his job functions—and had

   company employees direct Plaintiff to leave the premises.

           119.    Eddie Napleton Jr.'s conduct was not motivated by a good faith belief that his

   conduct would be in the company's best interest.

           120.    Eddie Napleton Jr.'s conduct, which directly caused and resulted in Plaintiff s

   termination, constituted a direct and unjustified interference with Plaintiff susiness relationship

   with Napleton Automotive Group.

           121.    As a result of Eddie Napleton Jr.'s conduct, Plai 'ff has suffered millions of dollars

   in damages. Plaintiff was a trusted executive at Naplet                 we Group whose salary and

   benefits were approximately $1 million per year, and Ao was slated to earn over $10 million from

   2019 to 2023.

           122.    Accordingly, Plaintiff is    'llecNelief as set forth in the Prayer for Relief below.

                                                  (NWT 111


                           Tortious IntiWrence with Business Relationship
                                 Aga;Vst Defendant Ed Napleton Sr.

           123.    Plaintiff iicorporates Paragraphs 1 through 103 as though fully set forth herein.

           124.    Vefsidant Ed Napleton Sr. had actual knowledge of Plaintiffs business

   relationsjii        apleton Automotive Group.

                   Acting solely out of malice toward Plaintiff, Ed Napleton Sr. interfered with

   Plaintiffs business relationship with Napleton Automotive Group in retaliation and retribution for

   Plaintiffs refusal to lie to police investigators and commit perjury in order to cover up Defendant

   Eddie Napleton Jr.'s rape of Jane Doe.


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           134.    Defendants took overt acts in furtherance of their conspiracy, including announcing

   that Plaintiff had "resigned" from Napleton Automotive Group and blocking Plaintiff's access to

   the company's servers.

           135.    Ed Napleton Sr. and Eddie Napleton Jr. had a personal stake in the conspiracy that

   was separate and distinct from Napleton Automotive Group's interests, as they were             ncerned

   with preserving Napleton Jr.'s liberty by covering up the crimes he had committ

           136.    As a result of Defendants' conduct, Plaintiff has suffered              s f dollars in

   damages.

           137.    Accordingly, Plaintiff is entitled to relief as set f     the Prayer for Relief below.

                                                  COUNT V

                               Negligent Retention    S                cision
                Against Defendants Napleton Auto,s05,
                                                   o                 oup and Ed Napleton Sr.

           138.    Plaintiff incorporates Parag         1t    ugh 103 as though fully set forth herein.

           139.    Defendants Napleton                 e Group and Ed Napleton Sr. were on notice of

   Defendant Eddie Napleton Jr.' ua               and wrongful propensities, including the fraudulent

   practices that Napleton Jr. e           ged and implemented, the allegations against Napleton Jr.

   relating to his rape ofJa         (which occurred at a work function), and Napleton Jr.'s instructions

   that Plaintiff Ii t      lice investigators and commit perjury.

           14            pleton Automotive Group and Ed Napleton Sr. were required to exercise due
                Ot
   diligecT conduct an appropriate investigation of Eddie Napleton Jr. at the time they learned

   of Napleton Jr.'s propensities. However, they failed to conduct such an investigation.

           141.    Had Napleton Automotive Group and Ed Napleton Sr. conducted an appropriate

   investigation, the investigation would have confirmed Eddie Napleton Jr.'s harmful and wrongful


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   propensities, shown that those propensities were likely to continue, and demonstrated that

   Napleton Jr. was unsuited for the specific duties assigned to him at that time or for employment

   with the company generally.

          142.    Napleton Automotive Group and Ed Napleton Sr. owed Plaintiff, in particular, a

   duty of care because they knew that Plaintiff was in the zone of foreseeable risks create      y Eddie

   Napleton Jr. They knew, for example, that Plaintiff and Napleton Jr. would be recTiired to work

   together on a day-to-day basis, including sharing an office, managing cr dealerships across

   Florida, and attending work functions together.

          143.    Napleton Automotive Group's and Ed Naplet                  's decision to retain Eddie

   Napleton Jr. as an employee and in his position was unrea           )g en the information they knew

   or should have known.                                     1•1`

          144.    Plaintiff was damaged as a proxim'SIN,c se of the unreasonable decision to retain

   Eddie Napleton Jr. as an employee and in his position, as Napleton Jr.'s foreseeable conduct as

   alleged in Paragraphs 114 to 122                a direct and unjustified interference with Plaintiff's

   business relationship with th

          145.    Accordivi‘41r
                          t1 , Plaintiff is entitled to relief as set forth in the Prayer for Relief below.

                                                COUNT VI

             AS1                         Promissory Estoppel
                                        Against Ed Napleton Sr.
             Nikoi
                Plaintiff incorporates Paragraphs 1 through 103 as though fully set forth herein.

          147.    Defendant Ed Napleton Sr. induced Plaintiff to leave his lucrative position as chief

   operating officer of an automotive company in Arkansas and join Napleton Automotive Group by




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   promising Plaintiff opportunities for increased compensation and advancement within the

   company.

            148.   Ed Napleton Sr.'s promises were defmite in nature, as he promised Plaintiff annual

   compensation of $1 million, that Plaintiff would soon be making annual compensation of over

   $2.5 million, and that successful performance would put Plaintiff in line to take ov             NAG' s

   Florida dealerships within two years.

            149.   Plaintiff reasonably relied upon Ed Napleton Sr.'s promises, mol%fr m Arkansas

   to Palm Beach at great expense in order to avail himself of the opportu *ties t at Napleton Sr. had

   prom i se d.

            150.   Despite Plaintiff's successful manage               f    apleton Automotive Group

   dealerships—including record numbers and a c ompleteu               nd of several failing dealerships—

   Ed Napleton Sr. deprived Plaintiff of the opportunSe
                                                      Illtivhad promised Plaintiff Nap] eton Sr. did

   so through his own wrongdoing and without a goiNd faith basis.

            151.   Plaintiff has suffer             s by relying upon Napleton Sr.'s promises to his

   detriment.

            152.   Accordingly, Plaintiff is entitled to relief as set forth in the Prayer for Relief below.

                                                 COUNT VII

                             Intentional Infliction of Emotional Distress
   Against            nts Napleton Automotive Group, Ed Napleton Sr., and Eddie Napleton Jr.

                   Plaintiff incorporates Paragraphs 1 through 103 as though fully set forth herein.

            154.   Defendants Napleton Automotive Group, Ed Napleton Sr., and Eddie Napleton Jr.

   engaged in extreme and outrageous conduct with the intent to cause Plaintiff severe emotional

   distress.


                                                      27
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           155.    Defendants' attempts to conceal the brutal rape of Jane Doe by insisting that

   Plaintiff lie to investigators and commit perjury—and then terminating Plaintiff's employment

   upon his refusal to comply—were so outrageous in character and extreme in degree as to go beyond

   all bounds of decency, and are atrocious and utterly intolerable in a civilized community

           156.    Plaintiff's was damaged by severe emotional distress that was a direct cqi$quence,

   and intended result, of Defendants' outrageous conduct.

           157.    Accordingly, Plaintiff is entitled to relief as set forth in the Pr        Relief below.

                                                 COUNT VIII

                                       Breach of Contract
           Against Defendants Napleton Automotive Group                          ill Dealer Services

           158.    Plaintiff incorporates Paragraphs 1 throuitilie
                                                                1          though fully set forth herein.

           159.    Defendant Ed Napleton Sr., actin 4 t e scope of his employment, offered a

   job to Plaintiff on behalf of Defendant             ton    utomotive Group in exchange for annual

   compensation starting at approximate                on per year.

           160.    Plaintiff accepte             and performed pursuant to the terms of the parties' oral
                                           0
   agreement from in or around         arch 2016 until the time he was terminated in or around February

   2019.

           161.    During the course of Plaintiff's employment, Napleton Automotive Group paid

   Plaintiff          ts affiliate, Defendant Oak Hill, for certain portions of Plaintiff's compensation

   that           ed on commissions Plaintiff had earned.

           162.    Napleton Automotive Group and Oak Hill breached the parties' agreement by

   failing to pay Plaintiff amounts owed for work Plaintiff actually performed and commissions

   Plaintiff actually earned under their agreement.


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          163.   Plaintiff has been damaged as a result of these breaches by Napleton Automotive

   Group and Oak Hill.

          164.   Accordingly, Plaintiff is entitled to relief as set forth in the Prayer for Relief below.

                                      JURY TRIAL DEMAND

         Plaintiff demands a trial by jury on all issues so triable.



                                          PRAYER FOR RELIEF
                                                                                  CSS4
         WHEREFORE, Plaintiff demands judgment against Defendant as follows:

         A. Awarding Plaintiff damages, including, but not limited to, compensatory and

             consequential damages;

         B. Awarding contractual, prejudgment, and          iSg
                                                             -  ent interest;

          C. Awarding costs and disbursementiiac
                                              illij„ s a result of this action;

         D. Awarding Plaintiff such further relieffg the Court deems just and proper.



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    Dated this 23rd day of April, 2020.

                                               Respectfully submitted,

                                               MARCUS NEIMAN RASHBAUM &
                                               PINEIRO LLP

                                               2 South Biscayne Boulevard, Suite 1750
                                               Miami, Florida 33131
                                               Telephone: (305) 400-4260
                                               Facsimile: (866) 780-8355



                                               Is/   Daniel Rashbaii;iiip)n


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                                                        A. Pineiro, Esq.
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                                          +    Fla. Bar No. 106495

                                               Counsel for Plaintiff




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                                                                .LN4
   Edward Napleton Jr., son of Narleton
   Auto Group president, allegedly had sex
   with unconscious woman, police say
   Monday, February 4, 2019
                                             _4V#
   An heir to a Chicago area auto dealer group is accused of having sex
   with an unconscious woman in a Florida hotel room.

   Edward Napleton Jr., whose family owns Napleton Auto Group,
   appeared in court on Monday after he was charged with sexual battery
   stemming from an incident in August.

   Surveillance video from a West Palm Beach hotel showed a woman
   falling to the ground outside her room.

   Hotel staff returned her to her room, but about an hour later, police
   said Napleton entered the room and stayed there for about six hours.

   Forensic tests showed Napleton's DNA was found on the victim's body.

   The Napleton Auto Group says it fully supports Ed Napleton and that
   he did nothing wrong. In a statement, they said: "Our company has
   strict policies and procedures in place to protect the safety and well-
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   being of all employees. In this case, no policy or law was violated. We
   fully support Eddie as he fights to clear his name in court and trust
   that justice will prevail."
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           Automotive News
February 06, 2019 05:59 PM

Son of Napleton Auto Group president charged with sexual battery in
Florida
DANIELLE SZATKOWSKI

dszatkowski@crain.corn

According to a police report, forensics tests showed DNA of Edward Napleton Jr. on the
victim's body.

Edward Napleton Jr., a manager at Napleton Automotive Group and son of company
President Ed Napleton, was arrested this week in Florida an;49vIlierged with sexual battery
related to an incident in August, according to local media re   I.

CBS12 News reported that police said Napleton Jr., 3 itoflo
                                                         N'd an unconscious woman at a
West Palm Beach, Fla., hotel last August. Napleto nktp,. o Hinsdale, Ill., was booked in jail
Sunday and released on bond Monday after being arged with sexual battery on a helpless
person.

According to a West Palm Beach, F          ' r.p
                                               department report posted on CBS12 News, a
33-year-old woman contacted autarities about an alleged assault after waking up naked in
bed Aug. 8 at the Marriott hotel. She told police she was in town for a work-related function
and had a couple of glasses of wine at a local restaurant the previous night before waking up
at the hotel. Hotel surveillance video showed Napleton Jr. with her, the police report said.

Napleton Jr.'s lawyer, Richard Lubin, told the TV station outside of court Monday that
Napleton Jr. "vehemently denies" guilt in the case. Lubin did not immediately return a
message left at his office Wednesday morning.

                               According to the police report, the woman identified Napleton Jr. and
                               another man in the hotel video to police. The video showed the woman
                               being dragged by her feet into a hotel room by the two men after falling.
                               Napleton Jr. and the other man entered the room and were there for
                               about 30 seconds before leaving, the report said.

                               Video surveillance then showed the woman exit her room and fall again
                               in the hallway, the report said. Hotel staff members said they found the
https://www.au1onews.com/node/972796/printab1e/print                                                       112
   Case 9:20-cv-82102-WM Document 144-10 Entered on FLSD Docket 06/14/2021 Page 44 of
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        PALM BEACH COUNTY      woman unconscious and returned her to her room in a wheelchair.
           SHERIFF'S OFFICE

  Edward Napleton Jr.
                    According to the police report, the hotel staff gave one of the men a key
                    to the woman's room around 1:20 a.m. Afterward, video footage showed
both men walking to the woman's room. The report said Napleton Jr. entered the room just
after 1:30 a.m. and left six hours later.

Forensics tests identified Napleton Jr.'s DNA on the woman's body, the police report said.

Napleton Automotive Group provided a statement to Automotive News Wedne,sday that read:
"Our company has strict policies and procedures in place to protect the safety and well-being
of all employees. In this case, no policy or law was violated. We fully support Eddie as he
fights to clear his name in court and trust that justice will prevail."(4.1hb)

Napleton Automotive didn't say whether the woman was an employee.

Napleton Automotive Group, of Oakbrook Terrace, Ill., ranksIN16 on the Automotive News
list of the top 150 dealership groups with 27,900 new vehile's retailed in 2017. On its
website, the company says it operates more than 60 loCations in seven states: Florida,
Georgia, Illinois, Indiana, Missouri, Pennsylvaniaci Wisconsin.



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